54 F.3d 774NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Jeffery JUNIEWICH, Defendant-Appellant.
    No. 94-72898.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 20, 1995.Decided May 18, 1995.
    
      Jeffery Juniewich, appellant pro se.
      Thomas Oliver Mucklow, Asst. U.S. Atty., Wheeling, WV, for appellee.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Juniewich, No. CR-90-136 (N.D.W. Va.  Oct. 18, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    